                    Case 3:17-cr-00164-JBA Document 136 Filed 05/26/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA

               v.                                       APPEARANCE

BHARAT PATEL                                            CASE NO.:   17-cr-00164 (JBA)


To the Clerk of this Court and all parties of record:

       Enter my Appearance as counsel in this case for:             BHARAT PATEL



Date: May 26,, 2020                             /s/ James Maguire
                                              Signature

Bar No.:    ct29355                                James Maguire
                                              Print Name

                                              FEDERAL DEFENDER OFFICE
                                              Firm Name

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                                              New Haven,                 CT         06510
                                                    City                      State      Zip Code

                                              (203) 498-4200
                                              Phone Number


                                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 26, 2020, a copy of the foregoing Appearance was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as
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                                              /s/ James Maguire
                                              James Maguire
